Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 1 of 14            FILED
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                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 2 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 3 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 4 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 5 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 6 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 7 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 8 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 9 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 10 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 11 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 12 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 13 of 14
Case 4:18-cv-00041-ACA Document 1 Filed 01/08/18 Page 14 of 14
